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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                  Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1    )
                                        )                                  Case No. 19-34054 (SGJ)
            Reorganized Debtor.         )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                 Plaintiff,             )
vs.                                     )                                  Adv. Pro. No. 21-03007 (SGJ)
                                        )
HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL )
ESTATE PARTNERS, LLC), JAMES DONDERO, )
NANCY DONDERO, AND THE DUGABOY )
INVESTMENT TRUST                        )
                 Defendants.            )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On September 28, 2021, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Highland’s Opposition to Motion to Dismiss Fifth, Sixth, and Seventh Claims for
         Relief [Docket No. 74]

     •   Highland’s Memorandum of Law in Support of Opposition to Motion to Dismiss
         Fifth, Sixth, and Seventh Claims for Relief [Docket No. 75]

     •   Debtor’s Objection to Motion to Compel Arbitration and Stay Litigation [Docket
         No. 76]


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Debtor’s Brief in Support of its Objection to Motion to Compel Arbitration and
       Stay Litigation [Docket No. 77]

   •   Declaration of John A. Morris in Support of Debtor’s Objection to Motion to
       Compel Arbitration and Stay Litigation [Docket No. 78]


Dated: October 5, 2021
                                            /s/ Aljaira Duarte
                                            Aljaira Duarte
                                            KCC
                                            222 N Pacific Coast Highway, Suite 300
                                            El Segundo, CA 90245




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                             EXHIBIT A
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                                                                  Exhibit A
                                                            Adversary Service List
                                                           Served via Electronic Mail


            Description                     CreditorName                    CreditorNoticeName                              Email
                                                                                                          john@bondsellis.com;
                                                                                                          john.wilson@bondsellis.com;
                                                                      John Y. Bonds, III, John T.         bryan.assink@bondsellis.com;
                                     Bonds Ellis Eppich Schafer       Wilson, IV, Bryan C. Assink, Clay clay.taylor@bondsellis.com;
Counsel for James Dondero            Jones LLP                        M. Taylor, William R. Howell, Jr. william.howell@bondsellis.com
Financial Advisor to Official                                         Earnestiena Cheng, Daniel H         Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured Creditors     FTI Consulting                   O'Brien                             Daniel.H.O'Brien@fticonsulting.com
Counsel for Nancy Dondero            Greenberg Traurig, LLP           Daniel P. Elms                      elmsd@gtlaw.com
                                                                      Melissa S. Hayward, Zachery Z.      MHayward@HaywardFirm.com;
Counsel for the Debtor               Hayward & Associates PLLC        Annable                             ZAnnable@HaywardFirm.com
                                                                                                          ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment                                    Douglas S. Draper, Leslie A.        lcollins@hellerdraper.com;
Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.    Collins, Greta M. Brouphy           gbrouphy@hellerdraper.com
Counsel for UBS Securities LLC and                                    Andrew Clubok, Sarah                andrew.clubok@lw.com;
UBS AG London Branch                 Latham & Watkins LLP             Tomkowiak                           sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                                                        asif.attarwala@lw.com;
UBS AG London Branch                 Latham & Watkins LLP             Asif Attarwala, Kathryn K. George Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                                                        jeff.bjork@lw.com;
UBS AG London Branch                 Latham & Watkins LLP             Jeffrey E. Bjork, Kimberly A. Posin kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                        Zachary.Proulx@lw.com;
UBS AG London Branch                 Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine       Jamie.Wine@lw.com
                                                                                                          mclemente@sidley.com;
                                                                      Matthew Clemente, Alyssa            alyssa.russell@sidley.com;
Counsel for Official Committee of                                     Russell, Elliot A. Bromagen,        ebromagen@sidley.com;
Unsecured Creditors                  Sidley Austin LLP                Dennis M. Twomey                    dtwomey@sidley.com
                                                                                                          preid@sidley.com;
                                                                      Penny P. Reid, Paige Holden         pmontgomery@sidley.com;
Counsel for Official Committee of                                     Montgomery, Juliana Hoffman,        jhoffman@sidley.com;
Unsecured Creditors                  Sidley Austin LLP                Chandler M. Rognes                  crognes@sidley.com
Counsel for HCRE Partners, LLC
(n/k/a NexPoint Real Estate                                           Deborah Deitsch-Perez, Michael    deborah.deitschperez@stinson.com;
Partners, LLC)                       Stinson LLP                      P. Aigen                          michael.aigen@stinson.com
                                                                                                        brant.martin@wickphillips.com;
Counsel for Highland Capital         Wick Phillips Gould & Martin,    Brant C. Martin, Jason M. Rudd,   jason.rudd@wickphillips.com;
Management Services, Inc.            LLP                              Lauren K. Drawhorn                lauren.drawhorn@wickphillips.com




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                             EXHIBIT B
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                                                                           Exhibit B
                                                                     Adversary Service List
                                                                   Served via First Class Mail

              Description                    CreditorName                  CreditorNoticeName                    Address1                City     State    Zip
                                                                   John Y. Bonds, III, John T. Wilson,
                                        Bonds Ellis Eppich Schafer IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
  Counsel for James Dondero             Jones LLP                  William R. Howell, Jr.               Suite 1000                   Fort Worth   TX      76102
                                                                                                        2200 Ross Avenue, Suite
  Counsel for Nancy Dondero             Greenberg Traurig, LLP     Daniel P. Elms                       5200                         Dallas       TX      75201
  Counsel for the Dugaboy Investment Heller, Draper & Horn,        Douglas S. Draper, Leslie A.         650 Poydras Street, Suite
  Trust and Get Good Trust              L.L.C.                     Collins, Greta M. Brouphy            2500                         New Orleans LA       70130
  Counsel for UBS Securities LLC and                                                                    555 Eleventh Street, NW,
  UBS AG London Branch                  Latham & Watkins LLP       Andrew Clubok, Sarah Tomkowiak Suite 1000                         Washington   DC      20004
  Counsel for UBS Securities LLC and                                                                    330 North Wabash Avenue,
  UBS AG London Branch                  Latham & Watkins LLP       Asif Attarwala, Kathryn K. George Ste. 2800                       Chicago      IL      60611
  Counsel for UBS Securities LLC and
  UBS AG London Branch                  Latham & Watkins LLP       Jeffrey E. Bjork, Kimberly A. Posin 355 S. Grand Ave., Ste. 100   Los Angeles CA       90071
  Counsel for UBS Securities LLC and                                                                    1271 Avenue of the
  UBS AG London Branch                  Latham & Watkins LLP       Zachary F. Proulx, Jamie Wine        Americas                     New York     NY      10020
  Counsel for HCRE Partners, LLC
  (n/k/a NexPoint Real Estate Partners,                            Deborah Deitsch-Perez, Michael P. 3102 Oak Lawn Avenue,
  LLC)                                  Stinson LLP                Aigen                                Suite 777                    Dallas       TX      75219
  Counsel for Highland Capital          Wick Phillips Gould &      Brant C. Martin, Jason M. Rudd,      3131 McKinney Avenue,
  Management Services, Inc.             Martin, LLP                Lauren K. Drawhorn                   Suite 100                    Dallas       TX      75204




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